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17                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
18                                SAN JOSE DIVISION
19   MATT JONES, BRYSON DECHAMBEAU,           Case No. 5:22-cv-04486-BLF-SVK
     PETER UIHLEIN, and LIV GOLF INC.,
20
                               Plaintiffs,        SUPPLEMENTAL MEMORANDUM IN
21                                                SUPPORT OF ITS MOTION TO
           v.                                     COMPEL PUBLIC INVESTMENT FUND
22                                                OF THE KINGDOM OF SAUDI ARABIA
     PGA TOUR, INC.,                              AND YASIR OTHMAN AL-
23                                                RUMA
                               Defendant and      DOCUMENT AND DEPOSITION
24                             Counter-Plaintiff, SUBPOENAS AND OPPOSITION TO
                                                  MOTION TO QUASH
25         v.
                                              Judge: Hon. Susan van Keulen
26   LIV GOLF INC.,                           Date Filed: August 3, 2022
27                Counter-Defendant.          Trial Date: January 8, 2024
28                                   REDACTED VERSION

       RESP. TO SUPP. MEMO. ISO MTN TO COMPEL COMPLIANCE WITH DOCUMENT AND DEPOSITION
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 1                                                                                -23) that Non-Parties
 2                                          PGA
 3 (Docket 225), Non-Parties respectfully submit this Response.

 4                                       PRELIMINARY STATEMENT
 5           The
 6
 7 the Shareholder Agreement disproves the facts laid out in the m
 8                                                                  not waived their immunity; and they

 9                                                                                         see U.S. v.
10 Bestfoods, 524 U.S. 51, 72 (199
11 supplemental brief makes admissions that prove the lack of jurisdiction.
12                                                 ARGUMENT
13                 1.       The Shareholder Agreement Has No Effect on Sovereign Immunity .

14            The Shareholder Agreement does not impact sovereign immunity because according to
15
16 PIF waived immunity under the governing law.
17           Commercial Activity Exception:                                                   on

18 [purportedly] illegal efforts to recruit PGA Tour members and induce them to breach their
19                                Supp. at 4:21-
20                                                   Id. at 4:26. Under its own argument, the Tour thus
21                                                                                 PIF did not
22

23
24                                                                                 to the conduct that
25                                                                               OBB Personenverkehr
26 AG v. Sachs, 577 U.S. 27, 34 (2015).
27 rest on              alleged inability to sign agreements with other tours, with golfers, and with
28
                                                                 Case No. 5:22-cv-04486-BLF-SVK
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 1                                                                                                          .
 2 Supp. at 4:14-16.
 3           Waiver: As explained before, investor approval of litigation is not sufficient for waiver. See

 4 Aldossari v. Ripp
 5
 6 at 5:3-
 7 intended                                        Id. (compiling cases).
 8 did not reach this issue. See Smith v. Soc. People's Libyan Arab Jamahiriya, 101 F.3d 239, 244 (2d

 9 Ci
10                  2.      The Shareholder Agreement Has No Effect on Personal Jurisdiction.
11                                                                                        approve
12                                   right of such approval does not establish day-to-day control or make
13 the subsidiary an agent of the parent for personal jurisdiction. See, e.g., Ranza v. Nike, Inc., 793

14 F.3d 1059, 1074 (9th Cir. 2015) (citing Doe v. Unocal Corp., 248 F.3d 915, 928 (9th Cir. 2001));
15 Kramer Motors Inc. v. British Leyland Ltd., 628 F.2d 1175, 1177 (9th Cir. 1980); see also First
16                                                                          , 462 U.S. 611, 629 (1983)
17 (establishing extensive-control test in context of foreign sovereign entities).

18           The Shareholder Agreement shows (at most) exactly that: approval of major decisions. See
19 Gater Assets Ltd. v. Moldovagaz, 2 F.4th 42, 58-
20 loyal board members is a due exercise of power in
21 with [day-to-                                    The Tour asserts that the Shareholder Agreement
22

23                            s day-to-
24 Supp. at 1:17-
25                                                                           an interpretation that is flatly
26 inconsistent with the plain terms of the Agreement, the English language, commonsense, and the
27 evidence before this Court.
28
                                                -2-               Case No. 5:22-cv-04486-BLF-SVK
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 1
 2
 3                                Id. at 1:22-27 & Exh. 1 at 44. 1 T

 4
 5                Id. at 2:1-                                                                         Id.
 6 at 4:25-26. But that reflects a basic misreading of the agreement.
 7
 8                                                                            The basic premise of the

 9                         that the Shareholder Agreement requires the consent of PIF for the specified
10 actions     is simply a misreading of the agreement.
11                                                                            largely rest on the premise
12 that
13                                                                      OXFORD ENGLISH DICTIONARY,

14 vol. III, at 760.
15
16 as a matter of both logic and vocabulary.
17

18
19 works. PIF is an investor in U.S. tech companies like Meta, Alphabet, Microsoft, Amazon, Pay Pal
20 and Zoom, and in consumer companies like Uber, Walmart, Starbucks and Costco. Does the Tour
21 seriously mean to contend that whenever PIF gives shareholder consents to those companies it is
22

23           In short,
24
25
26   1


27
28
                                                 -3-               Case No. 5:22-cv-04486-BLF-SVK
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 1                                            which are the type of major decisions that do not create
 2 personal jurisdiction for a parent corporation. See Supp., Exh. A at 45-46. Other than volume and
 3 ad hominem, the Tour has offered nothing to call that testimony into question.

 4                 3.                                                                     .
 5
 6 this lawsuit, (2) did not approve player contracts beyond the capital expenditures required for those
 7                                                     -to-day operations. All of that remains true,
 8                                                      .

 9          Neither                                                   Docket 166-6 (Taylor Decl.), ¶ 2.
10 This is evident from the fac
11                                    see Supp. Ex. 1 at 66, but none of the LIV Board Meetings (all of
12 which have been produced) show such consent.
13

14
15
16
17

18
19          Supp., Exh. A at 66 (emphasis added).
20                                            there would be evidence of either written approval or
21 approval at a board meeting. To date, LIV has produced (a) 100,871 documents totaling 361,842
22 pages; (b) all LIV Board meeting minutes; (c) all LIV Board presentations; (d) nearly 2,000

23 communications from LIV to PIF or PIF to LIV; (e) 270 LIV weekly updates to PIF; (f) more than
24 80 documents relating to PIF budget approvals; (g) more than 20 PIF and LIV agreements; (h)
25 documents concerning PIF meeting with players; and (i) PIF board approvals. Hvidt Decl. ¶ 14.
26 Out of those hundreds of thousands of pages, the Tour fails to identify a single page to show PIF
27 approval.
28
                                               -4-               Case No. 5:22-cv-04486-BLF-SVK
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 1                4.     Production of The Shareholder Agreement Was Timely.
 2         The Tour                                                               . Not true.
 3 Chief Financial Officer Tim Taylor briefly referenced the Shareholder Agreement in his November

 4 22, 2022 Declaration. Docket 166-6 (Taylor Decl.), ¶ 3. The Tour requested the document on
 5 November 28, 2022, and LIV produced the document after privilege review. Hvidt Decl., ¶¶ 6-7.
 6 The Tour then waited nearly three weeks before bringing it to the        attention on January 9,
 7 2023. The Tour has in any event had ample opportunity to respond to the document in its
 8 supplemental brief and at argument.

 9                                           CONCLUSION
10
11
12
13 DATED: January 20, 2023               Respectfully submitted,

14
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